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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Andrew Beckett, et al.                              No. 2:17-CV-03864-JS

                  Plaintiffs,

v.
                                                                                     F
Aetna, Inc. et. al.
                                                                                     OCT f 6 2018
                  Defendants,                                                   1·11,- i:     I   ~r   I

                                                                               B._



                   ORDER GRANTING PLAINTIFFS'MOTION FOR FINAL
                     APPROVAL OF CLASS ACTION SETTLEMENT

        AND NOW, upon consideration of Plaintiffs Motion for Final Approval of Class Action

Settlement and all supporting materials, and the Parties'proposed Settlement Agreement (the

" SettlementAgreement" ),the full record of this matter, and the arguments and submissions of

Counsel, including those made at the Final Approval Hearing held on October 15, 2018, IT IS

HEREBY ORDERED:

        1.        Unless defined herein, all capitalized terms in this Final Approval Order shall

have the same meanings as set forth in the Settlement Agreement.

        2.        Pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure, the

Court grants final certification of the following Settlement Class:

        all persons whose Protected Health Information and/or Confidential HIV-related
        information was allegedly disclosed improperly by Aetna and/or Aetna-related or
        affiliated entities, or on their behalf, to third parties, including Gibson, Dunn &
        Crutcher, LLP ("GDC") and Kurtzman Carson Consultants LLC ("KCC"), and/or
        to whom any written notice was mailed as required by the settlement of Doe v.
        Aetna, Inc., No . 14-cv-2986 (S.D. Cal.) and Doe v. Coventry Health Care, Inc.,
        No. 15-cv-62685 (S.D. Fla.).

        3.        The Court finds that for purposes of approving the Settlement Agreement, that the

Settlement Class meets all prerequisites of Rule 23 of the Federal Rules of Civil Procedure,

including that:
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               a.     The Settlement Class is so numerous that joinder of all members is

                      impracticable;

               b.     There are questions of law or fact common to the Settlement Class;

               c.     Plaintiffs ' claims are typical of the claims of the Settlement Class

                      Members;

               d.     Plaintiffs and Co-Lead Class Counsel are capable of fairly and adequately

                      protecting the interests of the Settlement Class;

               e.     Common questions of law and fact predominate over questions affecting

                      only individual Settlement Class Members and accordingly, the Settlement

                      Class is sufficiently cohesive to warrant settlement by representation; and

               f.     Certification of the Settlement Class is superior to other available methods

                      for the fair and efficient resolution of the claims of the Settlement Class.

       4.      The Court grants final appointment of Plaintiffs Andrew Beckett, Arizona Doe,

California Doe, S.A., Colorado Doe, Connecticut Doe, DC Doe, Florida Doe, Georgia Doe,

Illinois Doe, Indiana Doe, Kansas Doe, Maine Doe, Maryland Doe, Minnesota Doe, Mississippi

Doe, Missouri Doe, Nevada Doe, NewHampshire Doe, NewJersey Doe, NewMexico Doe,

NewYork Doe, NewYork Doel, NewYork Doe2, NewYork Doe3, NorthCarolina Doe, Ohio

Doe, Oklahoma Doe, SouthCarolina Doe, Tennessee Doe, Texas Doe, Virginia Doe, Washington

Doe, John Doe, Jane Doe2, John Doel , and John Doe2 as the Settlement Class Representatives.

       5.      The Court grants final appointment of Shanon J. Carson, E. Michelle Drake and

Sarah R. Schalman-Bergen of Berger Montague PC; Ronda B. Goldfein of the AIDS Law

Project of Pennsylvania; and Sally Friedman of the Legal Action Center, as Co-Lead Class

Counsel for the Settlement Class.

       6.      Plaintiffs and Co-Lead Class Counsel are authorized to take all appropriate action

required or permitted to be taken by the Settlement Agreement to effectuate its terms.

       7.      The Court finds that the manner and form of notice (the "Notice Plan") set forth

m the Settlement Agreement was provided to Settlement Class Members by the Settlement
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Administrator. Notice was also provided to pertinent state and federal officials as required by the

Class Action Fairness Act, 28 U.S.C. § 1715. The Notice Plan was reasonably calculated to give

actual notice to Settlement Class Members of the right to receive benefits from the Settlement,

and to be excluded from or object to the Settlement. The Notice Plan met the requirements of

Rule 23(c)(2)(B) and due process and constituted the best notice practicable under the

circumstances.

         8.      Angeion Group, LLC,          the Court-appointed Settlement Administrator,      is

authorized to continue its duties as set forth in the Settlement Agreement, and shall carry out all

tasks set forth in the Settlement Agreement that are assigned to the Settlement Administrator and

remain to be performed.

         9.      The Settlement Class Members were provided an opportunity to object to or opt-

out of the Settlement. Ten (10) Settlement Class Members who made valid and timely requests

for exclusion are hereby excluded from the Settlement and are not bound by this Final Approval

Order.

         10.     The Court notes that there are no pending objections to the Settlement by any

Settlement Class Member.

         11.     The Court finds that the Settlement Agreement was arrived at as a result of arm's-

length negotiations conducted in good faith by the Parties, and that both sides were represented

by experienced attorneys who were informed by ADR-related discovery with respect to the legal

and factual issues of the case. The Court further finds that the Settlement was reached with the

assistance of an experienced mediator.

         12.     The Settlement Agreement is fair, reasonable, adequate, and in the best interests

of Plaintiffs and the Settlement Class in light of the complexity, expense, and duration of

litigation, as well as the risk involved in establishing liability and damages and in maintaining

the class action through trial and appeals.

         13.     The settlement consideration provided by the Settlement Agreement, including

both the monetary consideration and non-monetary benefits, constitutes fair value given in
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exchange for the release of the Released Claims against the Released Parties. The Court finds

that the consideration to be provided to the Settlement Class is fair and reasonable, considering

the facts and circumstances of the claims and defenses asserted, and the potential risks and

likelihood of success of alternatively pursuing trial on the merits.

       14.     The Court hereby grants final approval of the Settlement, and all claims asserted

by Plaintiffs and the Settlement Class are hereby dismissed with prejudice. The Settlement Class

Members (except for the ten (10) Settlement Class Members who opted out of the Settlement),

are deemed to have released the Released Claims against the Released Parties as set forth in the

Settlement Agreement.

        15.    The Court grants final approval to the method of allocation and distribution of the

Settlement Fund as set forth in the Settlement Agreement. The Settlement Administrator shall

distribute the funds according to the terms of the Settlement Agreement.

        16.    The Court grants Plaintiffs ' Motion for Attorneys' Fees, Expenses, and Class

Representative Service Awards, and approves as fair and reasonable, attorneys ' fees to Class

Counsel in the amount of twenty-five percent (25%) of the Settlement Fund ($4,290,300), plus

costs of $73,892.80. Co-Lead Class Counsel is authorized to allocate the attorneys ' fees and

costs among Class Counsel in this matter.

        17.    The Court approves the requested Class Representative service awards in the

amount of $5,000 to each of the seven (7) Class Representatives who filed the Complaints that

were consolidated in this litigation (Andrew Beckett, S.A., John Doe, Kansas Doe, Jane Doe2,

John Dael, and John Doe2); and $2,000 to each of the thirty (30) additional Class

Representatives whose claims were alleged in Plaintiffs ' Amended Class Action Complaint filed

on December 5, 2017 (ECF No. 39) (Arizona Doe, California Doe, Colorado Doe, Connecticut

Doe, DC Doe, Florida Doe, Georgia Doe, Illinois Doe, Indiana Doe, Maine Doe, Maryland Doe,

Minnesota Doe, Mississippi Doe, Missouri Doe, Nevada Doe, NewHampshire Doe, NewJersey

Doe, NewMexico Doe, NewYork Dael, NewYork Doe2, NewYork Doe3, NewYork Doe4,

NorthCarolina Doe, Ohio Doe, Oklahoma Doe, SouthCarolina Doe, Tennessee Doe, Texas Doe,
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Virginia Doe, and Washington Doe.

       18.     The Court finds that the fees and costs of the Settlement Administrator are

reasonable and that the Settlement Administrator is authorized to be paid up to $180,000 from

the Settlement Fund for its work concerning this Settlement.

       19.     The Court approves The AIDS Coordinating Committee of the American Bar

Association as the cy pres recipient pursuant to Paragraph 4.9 of the Settlement Agreement.

       20.     Within ninety (90) days after all funds from the Settlement Fund have been

distributed, the Settlement Administrator shall destroy the Class List and all information

submitted by Settlement Class Members in connection with the Settlement, and shall file a

declaration with the Court certifying that such information was destroyed. Notwithstanding the

foregoing, the Settlement Administrator shall forthwith provide to Aetna the unredacted requests

for exclusions or opt-outs it has received, along with the envelopes in which each was contained

and received, consistent with the Notice to the Settlement Class Members that such requests may

be used for purposes of litigation only.

       21.     The Court hereby retains continuing and exclusive jurisdiction over the Parties

and all matters relating to the Settlement Agreement, including the administration, interpretation,

construction, effectuation, enforcement, and consummation of the Settlement.

       22.     The Court hereby enters Final Judgment in this case and dismisses this case with

prejudice in accordance with the terms of the Settlement Agreement. The Final Judgment shall

not bind the ten (10) Settlement Class Members who opted out of the Settlement. There being no

reason to delay entry of this Final Judgment, the Clerk of the Court is ordered to enter this Final

Judgment pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.

IT IS HEREBY ORDERED:

Dated: October   /!l;'{/Jis                  BY THE COURT:
